              Case 1:07-cv-00246-S-DLM         Document 29-3        Filed 01/10/2008      Page 1 of 2



                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF RHODE ISLAND


         WEAVER’S COVE ENERGY, LLC                           :
                                                             :
         v.                                                  :                      CA. No. 07-246S
                                                             :
         RHODE ISLAND COASTAL RESOURCES                      :
         MANAGEMENT COUNCIL, ET AL.                          :


                               STATE’S STATEMENT OF DISPUTED FACTS

                                             Plaintiff’s Paragraph 7

         Defendant’s Paragraph 7 of the adverse statement is disputed insofar as it uses the phrase
         “federal nagivational channel” in that according to Dredging Plan -- Document dated December,
         2003, entitled “Dredging Program” (J.A. Tab 2) -- the dredging will be deeper (and therefore
         under sound engineering principles, wider,than the federal parameters. The chart on page 7 of
         that document proves this.

         Otherwise, Paragraph 7 is undisputed.


                                             Plaintiff’s Paragraph 8

         Paragraph 8 invokes the same phrase and is treated in the same manner.

                                             Plaintiff’s Paragraph 9

         Paragraph 9 is disputed insofar as it uses the word “certification” in any manner that implies
         completeness. This dispute is made on the basis of Ex. C and Ex D, the Fugate and Goulet
         affidavits.

         Otherwise, Paragraph 9 is undisputed.

                                      Plaintiff’s Paragraphs 10, 11, 12, 13.

         Paragraphs 10, 11, 12, 13, are disputed insofar as letters speak for themselves. Otherwise,
         undisputed.




PDF created with pdfFactory trial version www.pdffactory.com
            Case 1:07-cv-00246-S-DLM           Document 29-3        Filed 01/10/2008      Page 2 of 2




                                                             Respectfully submitted,

                                                             State of Rhode Island,
                                                             By its Attorney,

                                                             PATRICK C. LYNCH
                                                             ATTORNEY GENERAL

                                                             /s/ Michael Rubin
                                                             Michael Rubin, Esq., (Bar #3656)
                                                             Assistant Attorney General
                                                             150 South Main Street
                                                             Providence, R.I. 02903
                                                             Tel: (401) 274-4400 Ext. 2116
                                                             Fax: (401) 222-3016

                                                             /s/ Paul J. Roberti
                                                             Paul J. Roberti, Esq., (Bar #4447)
                                                             Assistant Attorney General
                                                             150 South Main Street
                                                             Providence, RI 02903
                                                             Tel: (401) 274-4400 Ext. 2231
                                                             Fax: (401) 222-3016

                                                             /s/ Brian A. Goldman
                                                             Brian A. Goldman, Esq., (Bar #3940)
                                                             Counsel for CRMC
                                                             681 Smith Street
                                                             Providence, RI 02908
                                                             Tel: (401) 521-4100


                                               CERTIFICATION

                 I, the undersigned, hereby certify that a true copy of the within document was served by
         electronic means (ECF) on this 10th day of January, 2007 to the following:

          Gregory L. Benik, Esq.                        Bruce F. Kiely
          Benik & Associates P.C.                       Baker Botts, LLP
          931 Jefferson Blvd., Suite 2008               1299 Pennsylvania Avenue NW
          Warwick, RI 02886                             Washington, DC 20004-2400

                                                             /s/ Michael Rubin




PDF created with pdfFactory trial version www.pdffactory.com
